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September 9, 2015

VIA ECF and Email to Failla_ NYSDCChamber@nysd.uscourts.gov

The Hon. Katherine Polk Failla

United Stated District Court

for the Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square

New York, NY 10007

Re: Winter Investors, LLC v. Scott Panzer, No. 14-cv-6852

Dear Judge Failla:

We represent defendants Eli Verschleiser, EVE LLC, Sol Mayer and ETR Investor Holdings
LLC (“Defendants”) in the above-captioned matter and write, pursuant to Your Honor’s Opinion and
Order dated August 27, 2015, to inform the Court of the grounds on which they will move to stay the
remaining active claims in this matter (the ““Verschleiser-Diamond Claims”) pending the outcome the
parallel claims in Frydman v. Diamond, No. 14-1742 (S.D.N.Y. 2014). As discussed below, the
Verschleiser-Diamond Claims against Verschleiser are intertwined with the claims Frydman asserts
against the Diamonds in Frydman v. Diamond, and should be stayed pending a resolution of that action.
Should the Court decline to stay the Verschleiser-Diamond Claims, Verschleiser seeks to dismiss the
Verschleiser-Diamond Claims for failure to state a claim.

A. The Verschleiser — Diamond Claims Should Be Stayed

The original ETRE complaint alleged that the merger of ETRE Financial with ETRE Holdings
was part of a conspiracy to circumvent certain provisions of ETRE Financials’ Operating Agreement.
On October 15, 2014, the Court set a schedule for Defendants’ Motion to Compel Arbitration. Shortly
before the motion was due, Frydman amended his complaint to add an additional 131 paragraphs and
four new counts against Verschleiser, all of which were unrelated to ETRE, or the merger of ETRE
Financial with ETRE Holdings. Instead, they relate to Verschleiser’s purported interference with a
separate business venture with different defendants, Warren and Scott Diamond (the “Diamonds”).
Frydman alleges that Verschleiser encouraged the Diamonds to reject Frydman’s request to permit him
to take out a multi-million dollar loan on their jointly owned property and then encouraged the
Diamonds to compel arbitration of their dispute with Frydman. Am. Compl. {§ 307-45. This Court
noted that the Verschleiser-Diamond Claims “appear to have been tacked on to the original Complaint in
order to stymie anticipated motions to compel, or to convince the Court to accept as related” the
Frydman y. Diamond action. ECF No. 73 at 28.

The Verschleiser-Diamond Claims should be stayed because they are intertwined with
Frydman’s direct claims against the Diamonds. On November 3, 2014, Frydman commenced /rydman

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v. Diamond, a 400 paragraph, 16 count RICO action before Judge Woods. Frydman alleges that the
Diamonds improperly refused to consent to the loan and improperly sought to compel arbitration of
Frydman’s claims. The Verschleiser-Diamond Claims allege that Verschleiser improperly encouraged
the Diamonds to deny the loan and compel arbitration. Thus, Frydman’s claims against Verschleiser
will be moot if the fact finder in the Diamond Action finds that the Diamonds were justified in refusing
to approve the loan, or had a right to compel arbitration. The motion to compel arbitration in that action
has been sub judice since February 13, 2015. Because the outcome of the Verschleiser-Diamond Claims
depends on the outcome in Frydman v. Diamond, they should be stayed pending resolution of that
action. Readick v. Avis Budget Group, Inc., No. 12 Civ. 3988, 2014 WL 1683799, at *5 (S.D.N.Y. Apr.
28, 2014) (granting stay where resolution of concurrent federal action would resolve many of the factual
and legal issues); see Winter Investors, LLC v. Panzer, No. 14 Civ. 6852, 2015 WL 5052563, at *12
(S.D.N.Y. Aug. 27, 2015) (granting discretionary stay where the non-arbitrable claims overlapped with
the arbitrable claims). Allowing these overlapping claims to proceed on parallel tracks in the same
district would waste judicial resources, risks inconsistent results, and would inconvenience the parties
and witnesses who will be called to testify in both cases about the same facts. See id.

B. The Verschleiser-Diamond Claims Should be Dismissed

Should the Court decline to stay the Verschleiser-Diamond Claims, they should be dismissed for
failure to state a claim. First, Frydman’s malicious prosecution claim fails because Frydman does not,
as he cannot, plead that the Diamond’s New York State Court action was terminated in Frydman’s favor,
the Diamond’s were issued a provisional remedy, or that Frydman suffered special damages. Sankin v.
Abeshouse, 545 F. Supp. 2d 324, 328 (S.D.N.Y. 2008) (special injury); Diamond v. Strassberg, 751 F.
Supp. 1152, 1153 (S.D.N.Y. 1990) (provisional remedy); Sipsas v. Vaz, 855 N.Y.S.2d 248, 249 (2d
Dep’t 2008) (termination). Second, Frydman’s abuse of process claim must also be dismissed because
the mere commencement of an action by summons and complaint does not constitute an abuse of
process. Curiano v. Suozzi, 63 N.Y.2d 113, 116 (1984). Third, Frydman’s tortious interference with a
contract claim fails because the contract does not require the Diamonds to approve the loan, and, as a
result, the Diamonds did not breach any contract. Benjamin Goldstein Prods., Ltd. v. Fish, 603
N.Y.S.2d 849, 851 (Ist Dep’t 1993) (affirming dismissal of tortious interference claim where “plaintiffs
failed to show that there was a breach of the underlying contract by third parties.”). Finally, Frydman’s
tortious interference with prospective business relationship claims fails for the additional reason that
Frydman does not plead that Verschleiser’s behavior was criminal, independently tortious, or motivated
for the sole purpose of inflicting intentional harm. Carvel Corp. v. Noonan, 3 N.Y.3d 182, 190 (2004),

We thank the Court for its attention to this matter.

Respectfully submitted,

/s/Steven Cooper

Cc: David Wrobel
Jacob Frydman
